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                     EXHIBIT 12D
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Appendix D to Compensation Framework for
     Wetlands Real Property Claims:
     Area of Potential Eligibility Map




                        Appendix D: Area of Potential Eligibility
                                                                                1
                                        Map
                                                                              028052
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                                                 Louisiana (Entire Zone)




                                                                                                      Louisiana / Mississippi Border




                                                                  ½ mile Inland from Zone


Louisiana / Texas Border




                                                                      End of Louisiana State Waters




                                               Appendix D: Area of Potential Eligibility
                                                                                                                                2
                                                               Map
                                                                                                                             028053
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                         Cameron Parish, LA




                    Appendix D: Area of Potential Eligibility
                                                                             3
                                    Map
                                                                          028054
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                        Vermilion Parish, LA




                    Appendix D: Area of Potential Eligibility
                                                                             4
                                    Map
                                                                          028055
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                           Iberia Parish, LA




                    Appendix D: Area of Potential Eligibility
                                                                             5
                                    Map
                                                                          028056
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                         St. Mary Parish, LA




                    Appendix D: Area of Potential Eligibility
                                                                             6
                                    Map
                                                                          028057
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                       Terrebonne Parish, LA




                    Appendix D: Area of Potential Eligibility
                                                                             7
                                    Map
                                                                          028058
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                        Lafourche Parish, LA




                    Appendix D: Area of Potential Eligibility
                                                                             8
                                    Map
                                                                          028059
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                         Jefferson Parish, LA




                    Appendix D: Area of Potential Eligibility
                                                                              9
                                    Map
                                                                           028060
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                      Plaquemines Parish, LA




                    Appendix D: Area of Potential Eligibility
                                                                            10
                                    Map
                                                                           028061
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                       St. Bernard Parish, LA




                    Appendix D: Area of Potential Eligibility
                                                                            11
                                    Map
                                                                           028062
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           St. Tammany Parish and Orleans Parish, LA




                    Appendix D: Area of Potential Eligibility
                                                                            12
                                    Map
                                                                           028063
